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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                                NORTHERN DISTRICT OF CALIFORNIA

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                                         SCOTT JOHNSON,
                                  7                                                   Case No. 20-cv-06096-PJH
                                                      Plaintiff,
                                  8                                                   ORDER ADOPTING MAGISTRATE
                                                v.                                    JUDGE'S REPORT AND
                                  9                                                   RECOMMENDATION
                                         SHIT-FONG LO,
                                  10                                                  Re: Dkt. No. 19
                                                      Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         The court has reviewed Magistrate Judge Alex G. Tse's Report and

                                  14   Recommendation Re: Plaintiff's Motion for Default Judgment. Plaintiffs timely served the

                                  15   report and recommendation on defendant (Dkt. 20), and defendant failed to file any

                                  16   objection to the report. The court finds the report correct, well-reasoned and thorough,

                                  17   and adopts it in every respect. Accordingly, the motion is GRANTED.

                                  18         IT IS SO ORDERED.

                                  19   Dated: November 10, 2021

                                  20                                               /s/ Phyllis J. Hamilton__________
                                                                                   PHYLLIS J. HAMILTON
                                  21                                               United States District Judge
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